     Case 3:18-cv-00636-WKW-SMD Document 43 Filed 04/23/19 Page 1 of 1




                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                          EASTERN DIVISION

 STEPHANY WASHINGTON,                    )
                                         )
             Plaintiff,                  )
                                         )
        v.                               )      CASE NO. 3:18-CV-636-WKW
                                         )
 DISH NETWORK LLC,                       )
                                         )
             Defendant.                  )

                                     ORDER

      Upon consideration of the parties’ Joint Stipulation of Dismissal (Doc. # 42),

which comports with Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,

this action has been dismissed with prejudice by operation of Rule 41, on the terms

agreed to and set out by the parties. The Clerk of the Court is DIRECTED to close

this case.

      DONE this 23rd day of April, 2019.

                                                   /s/ W. Keith Watkins
                                             UNITED STATES DISTRICT JUDGE
